              Case 4:19-cv-02843-PJH Document 26 Filed 02/05/20 Page 1 of 6




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10
                                   UNITED STATES DISTRICT COURT
11                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                        OAKLAND DIVISION
12
13   CENTER FOR BIOLOGICAL DIVERSITY,           )    No. 4:19-cv-02843-PJH
     et al.,                                    )
14                                              )
               Plaintiffs,                      )    STIPULATION AND
15                                              )
                                                   [PROPOSED] ORDER TO
               v.                               )
16                                                     MODIFY CASE
                                                )
                                                ) MANAGEMENT      DEADLINES
17   DAVID BERNHARDT, in his official
                                                )
18   capacity as Secretary of the United
                                                )
     States Department of the Interior, et al., )
19                                              )
               Defendants.                      )
20
     ________________________________________ )
21
22
               Pursuant to Local Civil Rules 6-1, 6-2, 7-12, and 16-2, Defendants, David Bernhardt, in
23
     his official capacity as Secretary of the United States Department of the Interior, and Aurelia
24
     Skipwith, in her official capacity as Director of the U.S. Fish and Wildlife Service (“Service”) 1,
25
     and Plaintiffs, the Center for Biological Diversity (“Center”) and San Francisco Baykeeper
26
27
     1
         Pursuant to Federal Rule of Civil Procedure 25(d), Aurelia Skipwith is substituted for Margaret Everson.
28
     Stip. to Modify Case Mgmt. Deadlines and [Proposed] Order                        No. 4:19-cv-02843-PJH
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1    (collectively, the “Parties”) jointly stipulate, subject to the Court’s approval, to a modification of
2    the case management deadlines set on January 2, 2020 (ECF No. 25):
3       1. WHEREAS, on May 23, 2019, Plaintiffs filed their Complaint, alleging violations of the
4           Endangered Species Act, 16 U.S.C. §§ 1533-1544 et seq., and the Administrative
5           Procedure Act, 5 U.S.C. § 706(1). ECF No. 1;
6       2. WHEREAS, on July 31, 2019, Defendants moved unopposed for an extension of time to
7           file their answer to Plaintiffs’ Complaint until August 30, 2019. ECF No. 15. The Court
8           granted Defendants’ motion the same day. ECF No. 16;
9       3. WHEREAS, Defendants filed their answer on August 29, 2019. ECF No. 21;
10      4. WHEREAS, on September 3, 2019, Defendants moved unopposed to stay proceedings in
11          the case until October 31, 2019, after the Parties reached an agreement-in-principle to
12          resolve Plaintiffs’ claims without the Court’s further involvement. ECF No. 22. The Court
13          granted Defendants’ motion the following day. ECF No. 23;
14      5. WHEREAS, the Parties have been working diligently to memorialize their agreement-in-
15          principle. The Parties have recently completed that process. However, the Parties now
16          require additional time to obtain the necessary authorizations to file the agreement with the
17          Court. A short extension of the current case management deadlines will allow the Parties
18          to accomplish this.
19
20          NOW, THEREFORE, the Parties propose and stipulate to an extension of the current case
21      management deadlines as follows:
22      1. The deadline for the Parties to submit a Joint Case Management Statement is due no later
23          than February 20, 2020.
24      2. The Initial Case Management Conference is rescheduled for Thursday, March 19, 2020, at
25          2:00pm.
26
     Dated: February 5, 2020                               Respectfully submitted,
27
28
     Stip. to Modify Case Mgmt. Deadlines and [Proposed] Order                  No. 4:19-cv-02843-PJH
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     /s/ Amy R. Atwood                               JEAN E. WILLIAMS,
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     JENNIFER L. LODA (CA Bar No. 284889)            /s/ Davis A. Backer
6    Center for Biological Diversity                 DAVIS A. BACKER
7    1212 Broadway, Ste. 800                         Trial Attorney (CO Bar No. 53502)
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     Stip. to Modify Case Mgmt. Deadlines and [Proposed] Order          No. 4:19-cv-02843-PJH
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                                           [PROPOSED] ORDER
1
2           The stipulation to modify case management deadlines is approved and all Parties shall

3    comply with its provisions.
4
     IT IS SO ORDERED.
5
     Dated: _________________, 2020             By: ___________________________________
6                                               THE HONORABLE PHYLLIS J. HAMILTON
7                                                   UNITED STATES DISTRICT JUDGE

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     Stip. to Modify Case Mgmt. Deadlines and [Proposed] Order              No. 4:19-cv-02843-PJH
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                                 ATTESTATION OF CONCURRENCE
1
2           In accordance with Civil Local Rule 5-1(i)(3), I hereby attest that I obtained concurrence

3    in the filing for the signatures of all counsel indicated by a conformed signature (“/s/”) within this
     e-filed document.
4
                                                    /s/ Davis A. Backer
5                                                   DAVIS A. BACKER
6                                                   Trial Attorney (CO Bar No. 53502)
                                                    United States Department of Justice
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1                                      CERTIFICATE OF SERVICE
2            I hereby certify that on February 5, 2020, I electronically filed the foregoing Stipulated
3    Settlement Agreement with the Clerk of the Court using the CM/ECF system, which will send
4    notification of this filing to the attorneys of record.
5
                                                     /s/ Davis A. Backer
6                                                    DAVIS A. BACKER
7                                                    Trial Attorney (CO Bar No. 53502)
                                                     United States Department of Justice
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